Case 5:19-cv-02184-JGB-SP Document 84 Filed 06/30/21 Page 1 of 3 Page ID #:868




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                      THE UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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      KATRINA HARRIS, et al.,           ) Case No.: 5:19-cv-02184-JGB-SP
11                                      )           5:21-cv-00397-JGB-SP
12                     Plaintiff,       ) COLLECTIVE ACTION
             vs.                        )
13                                      ) ORDER GRANTING STIPULATION
14    68-444 PEREZ, INC. dba            ) TO:
      SHOWGIRLS, a California           ) 1. CONSOLIDATE THE HARRIS
15    corporation; ABDUL WAHAB          )    AND SILVA MATTERS;
16    SHAWKAT, an individual; DOE       )
      MANAGERS 1-3; and DOES 4-         ) 2. PROVIDE FURTHER NOTICE
17    100, inclusive,                   )    TO COLLECTIVE MEMBERS;
18                                      ) 3. WITHDRAW DEFENDANTS’
                      Defendants.       )    MOTION TO DISMISS OR, IN
19                                      )    THE ALTERNATIVE, MOTION
20                                      )    TO STAY THE SILVA MATTER
                                        )    [SILVA DKT. 22]AND
21                                      )    PLAINTIFFS’ MOTION FOR AN
22                                      )    ORDER TO SHOW CAUSE IN
                                        )    THE HARRIS MATTER [HARRIS
23
                                        )    DKT. 76; AND
24                                      )
                                          4. AMEND THE SCHEDULING
                                        )
25                                           ORDER.
                                        )
26                                         NOTE CHANGES MADE BY THE COURT
27
28
                                        ORDER
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Case 5:19-cv-02184-JGB-SP Document 84 Filed 06/30/21 Page 2 of 3 Page ID #:869




 1            PLEASE TAKE NOTICE that the Court has reviewed plaintiffs Rebecca
 2    Anspach, Karli Beckett, Caitlynn Boles, Marissa Duran, Rylee Ferguson, Akilah
 3    Hammond, Kimberly Ann Hoyer, Mandy Johnson, Shanon Nickols, Vanessa
 4    Ruiz, Andjela Suka, Neli Velasquez, Marlene Silva, Mikayla Bellamy and
 5    Chellsee Lloyd (collectively “Plaintiffs”) and defendants 68-444 Perez, Inc. dba
 6    Showgirls, Abdul Wahab Shawkat, and Sahar Shawkat’s (collectively
 7    “Defendants” and “Showgirls”) Stipulation. After review and consideration of the
 8    above, the Court ORDERS that:
 9            1.   The Harris Action and the Silva Action shall be consolidated for all
10    purposes, including trial; all future filings shall be made under the lower case
11    number (5:19-cv-2184) and the higher case number (5:21-cv-397) is closed.
12            2.   Plaintiffs will be able to provide notice in the same manner as the
13    Court authorized on April 23, 2020 to the remaining eligible dancers who were
14    not previously identified for issuance of notice;
15            3.   The corrected list will be provided to Plaintiffs’ counsel within 24
16    hours of issuance of an Order granting this Stipulation and other forms of notice
17    will be complied with in the same manner;
18            4.   The newly-disclosed dancers will have 60 days from the Order
19    granting this Stipulation to provide Plaintiffs’ counsel with the consent to opt-in
20    form;
21            5.   No later than 67 days from the entry of the Order granting this
22    Stipulation, Plaintiffs will file a Master Consolidated Complaint with the same
23    currently named three Defendants, and the Plaintiffs in the Harris Action will not
24    add any new California causes of action;
25            6.   Defendants’ Motion to Dismiss or, in the Alternative, Motion to Stay
26    [Silva Dkt. 22] in the Silva Action is withdrawn;
27            7.   Plaintiffs’ Motion for an Order to Show Cause re Contempt
28    [Harris Dkt. 76] in the Harris (Case 5:19-cv-02184) Action is withdrawn;
      ///                                   ORDER
                                             -2-
Case 5:19-cv-02184-JGB-SP Document 84 Filed 06/30/21 Page 3 of 3 Page ID #:870




 1          8.      The Scheduling Order in the Harris Action is modified as follows:
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 3               Deadline                 Old Date                   New Date
 4    Initial Designation of                       6/4/2021                     9/10/2021
 5    Expert Witnesses
 6    Designation of Rebuttal                     6/18/2021                     9/24/2021
 7    Witnesses
 8    All Discovery Cut Off                       7/30/2021                 10/27/2021
 9    (including hearing of
10    discovery motions)
11    Dispositive Motion                          9/27/2021                 12/13/2021
12    Hearing
13    Last Day to Conduct                         8/27/2021                     11/1/2021
14    Settlement Conference
15    Final Pre-Trial               10/25/2021 at 11:00 a.m.     1/24/2022 at 11:00 a.m.
16    Conference
17    Jury Trial                      11/9/2021 at 9:00 a.m.      2/8/2022 at 9:00 a.m.
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19          IT IS SO ORDERED.
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       Dated: June 30, 2021
21                                               Honorable Jesus G. Bernal
22                                               United States District Judge

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                                           ORDER
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